                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
      v.                                       )      Case No. 3:18-CR-75
                                               )      Chief Judge Waverly D. Crenshaw
CHRISTOPHER BECKHAM                            )
                                               )


     UNITED STATES’ RESPONSE TO DEFENDANT’S SUPPLEMENTAL BRIEF
                   IN SUPPORT OF MOTION TO DISMISS

       The United States of America, by and through United States Attorney Donald Q. Cochran,

Assistant United States Attorney Sara Beth Myers, and Civil Rights Division Trial Attorney

Michael J. Songer, hereby responds to the defendant’s Supplemental Brief in Support of Motion

to Dismiss for Lack of Jurisdiction, ECF No. 107.

       Defendant Beckham raises an as-applied challenge to the Hate Crime Prevention Act

(“HCPA”), 18 U.S.C. § 249(a)(2), arguing that committing a bias-motivated assault using a knife

that has traveled in interstate commerce is insufficient to establish federal jurisdiction. The lone

new authority cited in defendant’s most recent filing, however, involves a challenge to a different

federal statute with a different jurisdictional foundation than the HCPA. Indeed, the defendant

points to a challenge to the federal law criminalizing female genital mutilation, 18 U.S.C. § 116(a)–

–a statute with no jurisdictional hook. See ECF No. 107 at 2-5 (citing United States v. Nagarwala,

350 F. Supp. 3d 613 (E.D. Mich. 2018)). The Nagarwala court held that it lacked jurisdiction over

the female genital mutilation case in part because “[t]here is no jurisdictional element” in the

charged statute. Id., 350 F. Supp. 3d at 629. By contrast, the statute at issue in the instant matter,

18 U.S.C. § 249, has an express jurisdictional hook. See 18 U.S.C. §§ 249(a)(2)(B)(i)–(iv); United




    Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 1 of 8 PageID #: 891
States v. Mason, 993 F. Supp. 2d 1308, 1317 (D. Ore. 2014) (“the jurisdictional element of the

HCPA . . . is sufficient to satisfy the requirements of the Commerce Clause”).

       The prime deficiency in Nagarwala–– the lack of any jurisdictional element––shows why

federal jurisdiction is appropriate here. Unlike § 116(a), the HCPA enumerates four specific bases

for Commerce Clause jurisdiction. The grand jury charged the jurisdictional element requiring the

government to prove that Defendant Beckham used a dangerous weapon that traveled in interstate

commerce. See Indictment, ECF No. 3. Nagarwala does not address the long line of authority

allowing Congress to regulate weapons that travel in interstate commerce and therefore furnishes

no support for the defendant’s motion to dismiss. Rather, Nagarwala underscores the centrality

of statutory jurisdictional elements to the Commerce Clause analysis. Federal jurisdiction is

appropriate here for a violation of the HCPA, where the defendant’s indictment charges the type

of jurisdictional element that Nagarwala found lacking.

                                           ANALYSIS

I.     The Defendant’s Use of a Knife that Traveled in Interstate Commerce – a Charged
       Jurisdictional Element – is Sufficient for Federal Jurisdiction

       The HCPA specifies four ways that a particular bias-motivated assault can have a sufficient

nexus to interstate or foreign commerce to trigger federal jurisdiction under the Commerce Clause.

The grand jury charged that the defendant’s conduct satisfied the third jurisdictional element, 18

U.S.C. § 249(a)(2)(B)(iii), by “us[ing] a dangerous weapon that had traveled in interstate

commerce” when he attacked two young Muslim girls and their father with a knife. ECF No. 3.

The jurisdictional hook codified in subsection (B)(iii) is supported by a line of authority holding,

in various contexts, that Congress has the power to regulate the use and possession of weapons

that have traveled in interstate commerce. See, e.g., Scarborough v. United States, 431 U.S. 563

(1979); U.S. Supp. Br. on Def’s Mot. to Dismiss, ECF No. 86, at 3-4, 9-16.

                                                 2

     Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 2 of 8 PageID #: 892
        The principle that Congress may regulate weapons that move in interstate commerce

remains good law, even after the Supreme Court’s decisions in United States v. Lopez, 514 U.S.

549 (1995) and United States v. Morrison, 529 U.S. 598 (2000). See, e.g., United States v. McBee,

295 F. App’x 796, 798 (6th Cir. 2008) (collecting cases that “affirm the constitutionality of the

felon-in-possession statute and the continuing authority of Scarborough”); United States v. Napier,

233 F.3d 394, 402 (6th Cir. 2000) (“Nothing in Morrison casts doubt on the validity of § 922(g),

which regulates a product of interstate commerce.”) (internal quotations omitted); United States v.

Patton, 451 F. 3d 615, 635 (10th Cir. 2006) (affirming federal jurisdiction for prosecution where

body armor had “moved across state line at some point in its existence”). Nagarwala does not

address this line of authority.

        Two post-Morrison district court decisions have upheld federal jurisdiction for HCPA

prosecutions based on the presence of the same jurisdictional element charged here. See United

States v. Mullet, 868 F. Supp. 2d 618 (N.D. Ohio 2012), rev’d on other grounds, 767 F.3d 585 (6th

Cir. 2014) (finding the HCPA constitutional on its face and as applied where the government

charged that the defendant committed a bias-motivated assault using hair clippers and scissors that

had traveled across state lines); Mason, 993 F. Supp. 2d 1308 (affirming federal jurisdiction for an

HCPA prosecution where the government charged that the defendant committed an assault with a

metal tool that was “a dangerous weapon that had traveled in interstate commerce”). 1 These

decisions found that interstate movement of a weapon alone establishes federal jurisdiction. See,

e.g., Mason, 993 F. Supp. 2d at 1317 (“If the Government can prove that the weapon Mason

allegedly used traveled in interstate or foreign commerce, the jurisdictional element will be



1
    The Government’s prior Supplemental Brief discusses decisions by two other district courts regarding the
application of different HCPA jurisdictional elements that are not at issue here. See ECF No. 86 at 4-14 (discussing
United States v. Jenkins and United States v. Hill).

                                                         3

    Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 3 of 8 PageID #: 893
satisfied.”). The same principle applies here. Defendant’s indictment alleges that Defendant

Beckham swung a knife that “had traveled in interstate commerce” as he attacked his victim. ECF

No. 3. This charge establishes federal jurisdiction.

II.     Nagarwala Underscores the Importance of Statutory Jurisdictional Elements

        The defendant’s supplemental brief asks the Court to dismiss his indictment based in part

on the Nagarwala court’s determination that it lacked jurisdiction over a prosecution for violating

18 U.S.C. § 116(a), the federal statute prohibiting female genital mutilation. Defendant claims

Nagarwala is “plainly relevant and persuasive authority for Mr. Beckham’s case” because “both

the FGM statute and the HCPA seek to regulate essentially assaultive behavior with at best an

indirect connection with commerce.” ECF No. 107 at 3. This claim ignores the critical difference

between § 116(a) and the HCPA––the presence of an explicit jurisdictional element establishing a

connection to interstate commerce.

        The Nagarwala court first recognized that “the absence of a jurisdictional element is

unimportant” if there is otherwise sufficient evidence of an effect on interstate commerce.

Nagarwala, 350 F. Supp. 3d at 629. The Nagarwala court concluded that evidence was lacking

in the FGM case before it. It should be noted, however, that the Nagarwala court did not rest its

jurisdictional analysis after determining that there was no significant interstate female genital

mutilation market for Congress to regulate. Rather, the court explained that it still “must consider

[] whether the statute contains ‘a jurisdictional element limiting the reach of the law to a discrete

set of activities that has an explicit connection with, or effect on, interstate commerce.’”

Nagarwala, 350 F. Supp. 3d at 628-29 (citing Norton v. Ashcroft, 298 F.3d 547, 555-56 (6th Cir.

2002)). Without this jurisdictional hook, the Nagarwala court concluded that § 116(a) was an

unconstitutional exercise of Congress’ authority. Id., 350 F. Supp. 3d at 629-30.



                                                 4

      Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 4 of 8 PageID #: 894
       Nagarwala therefore underscores the jurisdictional foundation of Defendant Beckham’s

prosecution, which is grounded on the jurisdictional element that the knife the defendant used to

attack his victims traveled in interstate commerce. Defendant Beckham acknowledges that the

presence of this jurisdictional hook is “legally significant,” but argues that it is not “outcome-

determinative.” ECF No. 107 at 3-4. Yet–– as in his prior briefing––the defendant cites no case

holding that a charged jurisdictional element requiring a weapon to have traveled in interstate

commerce is insufficient to establish federal jurisdiction. Perhaps this is because the case law

squarely rejects his argument. See ECF No. 86 at 8-14; ECF No. 88 at 3-6.

       In the absence of authority that supports his argument regarding the jurisdictional hook at

issue in this HCPA prosecution, the defendant points to a recent letter sent from the Solicitor

General to a member of Congress explaining that the Justice Department will not appeal the

Nagarwala decision. See ECF No. 107 at 4. The letter explains that the Nagarwala court

“emphasized that, unlike many federal criminal statutes, Section 116(a) does not include any

jurisdictional elements,” and then concludes that the Justice Department lacks a reasonable defense

of the statute “as currently worded.” ECF No. 107-1 at 1-2. The letter urges Congress to pass a

revised statute that includes jurisdictional hooks showing a specific connection to interstate

commerce. Id. at 2-3. The Justice Department proposal includes several jurisdictional elements

most relevant to female genital mutilation, such as whether “a payment,” “offer,” or “a

communication is made” in or affecting interstate commerce “in furtherance of FGM.” ECF No.

107-1 at 3.

       The defendant argues that the fact that the proposed jurisdictional elements for the FGM

statute did not include the jurisdictional element charged here––a dangerous weapon moved in

interstate commerce––shows that the Government lacks “faith” in its legal position. ECF No. 107



                                                5

   Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 5 of 8 PageID #: 895
at 4. This implication is unpersuasive and illogical. A statute need not list all of the potential

jurisdictional elements that might apply in federal criminal statutes. Rather, it is reasonable to

assume that Congress would include only those relevant to conduct targeted by the statute. For

example, Congress did not include jurisdictional elements relating to interstate payments, offers,

or communications – included in recommended legislative fix to Section 116(a) – in the HCPA

because hate crimes rarely involve those acts. Accordingly, the Solicitor General’s letter cannot

reasonably be read to suggest that federal courts lack jurisdiction over the important federal

criminal statutes premised on the jurisdictional element of items moving in interstate commerce.

See, e.g., 18 U.S.C. § 249(a)(2)(B)(iii) (tethering hate crime jurisdiction to use of a firearm,

dangerous weapon, explosive device or other weapon that has traveled in interstate or foreign

commerce); § 922(g) (firearm shipped in interstate commerce); § 922(n) (ammunition shipped in

interstate commerce); § 2119 (carjacking of vehicles that were previously transported in interstate

commerce).     Rather, the Solicitor General’s letter simply recognized the importance of

jurisdictional elements and proposed amending Section 116(a) by adding the jurisdictional

elements most relevant to the conduct covered by that statute. Presumably, the letter did not

include the movement of dangerous weapons across state lines because that jurisdictional element

is of minimal relevance to Section 116(a).

       In short, the HCPA includes jurisdictional elements tailored to the conduct it prohibits.

The specific jurisdictional element charged in Defendant Beckham’s indictment establishes federal

jurisdiction for this prosecution.




                                                6

    Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 6 of 8 PageID #: 896
                                Respectfully Submitted,


                                DONALD Q. COCHRAN
                                UNITED STATES ATTORNEY

                                s/ Sara Beth Myers_______________
                                SARA BETH MYERS
                                Assistant United States Attorney
                                110 9th Avenue South
                                Nashville, TN 37203
                                615-736-5151 phone
                                Sara.E.Myers@usdoj.gov


                                ERIC S. DREIBAND
                                ASSISTANT ATTORNEY GENERAL

                                s/ Michael J. Songer_____________
                                MICHAEL J. SONGER
                                Attorney
                                Civil Rights Division, Criminal Section
                                U.S. Department of Justice
                                950 Pennsylvania Ave. NW
                                Washington, DC 20530
                                202-305-3204 phone
                                202-514-6588 fax
                                Michael.Songer@usdoj.gov




                                   7

Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 7 of 8 PageID #: 897
                                CERTIFICATE OF SERVICE

        I hereby certify that on April 29, 2019, I filed the foregoing with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to all counsel of record in
this case: Andrew Brandon, Office of the Federal Public Defender, 810 Broadway, Suite 200,
Nashville, TN 37203.


                                                    Respectfully submitted,


                                                    s/Sara Beth Myers      _
                                                    SARA BETH MYERS
                                                    Assistant U.S. Attorney




                                                8

   Case 3:18-cr-00075 Document 113 Filed 04/29/19 Page 8 of 8 PageID #: 898
